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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,
                 Plaintiff,

        v.                                             Criminal No. 2:05CR8

 DARRELL DARDEN,
               Defendant.

                                         ORDER/OPINION

        On the 15th day of October 2010, came the defendant, Darrell Darden, in person and by his

 counsel, Brian J. Kornbrath, and also came the United States by its Assistant United States Attorney,

 Zelda Wesley, pursuant to a Petition for Warrant or Summons for Offender Under Supervision filed

 in this case on October 8, 2010, alleging:

 1.     Violation of Standard Condition No. 3: The defendant shall answer truthfully all inquiries
        by the Probation officer and follow the instructions of the Probation Officer.

 2.     Violation of Standard Condition No. 2: The defendant shall report to the probation officer
        and shall submit a truthful and complete written report within the first five days of each
        month.

 3.     Violation of Standard Condition No. 6: The defendant shall notify the probation officer at
        least ten days prior to any change in residence or employment.


        Prior to the taking of evidence, Defendant waived the hearing, conceding probable cause

 existed to forward this revocation matter to Chief United States District Judge John Preston Bailey

 for hearing and disposition. The Court then explained the charges contained in the Petition and the

 effect of the proposed waiver to defendant and inquired of him as to the voluntariness of his decision

 to waive hearing on the matter. From the colloquy between the Court and the defendant, the Court

 concluded defendant’s decision to waive hearing and his agreement to the modification ordered by

 the District Judge as recited above was knowingly and voluntarily made.
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         Upon consideration of all which, the Court finds Defendant violated conditions of his

 supervised release as alleged in the Petition for Warrant or Summons for Offender Under

 Supervision filed October 8, 2010.

        It is therefore ORDERED that the defendant be bound over for a full hearing before Chief

 United States District Judge John Preston Bailey on the Petition for Warrant or Summons for

 Offender Under Supervision filed October 8, 2010.

        Defendant, through counsel, advised that he was not seeking release at the moment because

 he was seeking a suitable place to live. Counsel advised he would be moving for modification of

 conditions if and when suitable housing, preferably at a half way house was located. Counsel for the

 Government advised that the Government had no objection to Defendant’s release to a halfway

 house should space become available. Unless and until such a request is made, Defendant is

 remanded to the custody of the United States Marshal pending further proceedings.

        The clerk of the court is directed to transmit a copy of this order to counsel of record.

        DATED: October 20, 2010.

                                                       John S. Kaull
                                                       JOHN S. KAULL
                                                       UNITED STATES MAGISTRATE JUDGE
